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                                        March 20, 2025



MEMORANDUM FOR All AGENCIES SUBJECT TO EXECUTIVE ORDER 14230

FROM:                   PAMELA BONDI
                        ATTORNEY GENERAL

                        RUSSELL T. VOUGHT
                        DIRECTOR
                        OFFICE OF MANAGEMENT AND BUDGET

SUBJECT:                 COURT ORDER REGARDING EXECUTIVE ORDER 14230


        On March 19, 2025, a district judge in the District of Columbia entered an order in the
case of Perkins Coie v. U.S. Department of Justice, et al., No. 25cv0716 (D.D.C.). The case
involves a challenge to Executive Order 14230 of March 6, 2025, 90 Fed. Reg. 11781 (Mar. 11,
2025), entitled, “Addressing Risks from Perkins Coie LLP.” Pursuant to this March 19, 2025
order, all agencies subject to Executive Order 14230 must (a) communicate to every recipient of
a request for disclosure of any relationship with Perkins Coie LLP or any person associated with
the firm, made pursuant to Section 3(a) of Executive Order 14230, that such request is rescinded
until further order of the Court; and (b) cease making such requests for disclosure, pursuant to
Section 3(a) of Executive Order 14230, until further order of the Court.

        The Executive Branch’s position is that Executive Order 14230 is permissible, and that
the Court’s order was erroneous. The government reserves the right to take all necessary and
legal actions in response to the “dishonest and dangerous” conduct of Perkins Coie LLP, as set
forth in Executive Order 14230.
